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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                                     Plaintiffs,
                                                       C.A. No: 1:25-cv-10495-IT
           v.

 KRISTI NOEM, et al.,

                                     Defendants.


         PLAINTIFFS’ NOTICE REGARDING FEDERAL REGISTER NOTICE
        TERMINATING THE PAROLE PROCESSES FOR CUBANS, HAITIANS,
                 NICARAGUANS, AND VENEZUELANS (CHNV)

       Plaintiffs, by and through undersigned counsel, hereby submit this notice in order to inform

the Court regarding a recent development relating to the termination of the parole processes for

Cubans, Haitians, Nicaraguans, and Venezuelans (“CHNV”). On March 21, 2025, at

approximately the same time Defendants filed their Memorandum in Opposition to Plaintiff’s

Motion for a Preliminary Injunction (Doc. No. 42), the Department of Homeland Security made

public a notice entitled “Termination of Parole Processes: Cubans, Haitians, Nicaraguans, and

Venezuelans.”     See    Exhibit   A,    available     at    https://www.federalregister.gov/public-

inspection/2025-05128/termination-of-parole-processes-cubans-haitians-nicaraguans-and-

venezuelans.

       Given the Federal Register Notice’s relevance to the issues before this Court, Plaintiffs

intend to challenge Defendant’s latest agency action formally terminating of the CHNV parole

processes. Accordingly, at the hearing for Plaintiffs’ Motion for Preliminary Injunction on

Monday, March 24, 2025, Plaintiffs will be prepared to discuss a briefing schedule as to Plaintiffs’




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plans to further supplement the Amended Complaint and timing for seeking further injunctive

relief.



Dated: March 21, 2025                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

I, John A. Freedman, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                              /s/ John A. Freedman
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